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                               UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF TEXAS
                                    MARSHALL DIVISION


  NETLIST, INC.                                           Civil Case No. 2:22-cv-00293-JRG
                                                          (Lead Case)
                 Plaintiff,
                                                          JURY TRIAL DEMANDED
  v.

  SAMSUNG ELECTRONICS CO., LTD, et al.

                 Defendants.


  NETLIST, INC.                                           Civil Case No. 2:22-cv-00294-JRG
                                                          (Member Case)
                 Plaintiff,
                                                          JURY TRIAL DEMANDED
  v.

  MICRON TECHNOLOGY TEXAS, LLC, et al.

                 Defendants.


         SAMSUNG’S ANSWER TO NETLIST’S THIRD AMENDED COMPLAINT

         Defendants Samsung Electronics Co., LTD (“SEC”), Samsung Electronics America, Inc.

 (“SEA”), and Samsung Semiconductor, Inc. (“SSI”) (collectively, “Samsung”) hereby answer

 the Third Amended Complaint (Dkt. No. 100) filed by Plaintiff Netlist, Inc. (“Netlist” or

 “Plaintiff”).

         Samsung denies the allegations and characterizations in Netlist’s Third Amended

 Complaint unless expressly admitted in the following numbered paragraphs, which correspond to

 the numbered paragraphs in the Third Amended Complaint. Further, to the extent that Netlist’s

 allegations set forth legal conclusions, no response is required.




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        1.      Samsung denies that Plaintiff’s pleading is “its Second Amended Complaint”

 against Samsung Electronics Co., Ltd., Samsung Electronics America, Inc., and Samsung

 Semiconductor, Inc. Samsung lacks knowledge or information sufficient to form a belief about

 the truth of the remaining allegations in Paragraph 1 of the Third Amended Complaint, and

 therefore denies them.

        2.      Samsung admits this action purports to involve U.S. Patent Nos. 7,619,912 (the

 “’912 patent,”), 11,093,417 (the “’417 patent,”), 9,858,215 (the “’215 patent,”), and 10,268,608

 (the “’608 patent”) (collectively, the “Patents-In-Suit”). Samsung admits that purported copies

 of the ’912 patent, the ’417 patent, and the ’215 patent are attached to the Third Amended

 Complaint as Exhibits 1, 2, and 3, respectively.

                                         THE PARTIES1

        3.      Samsung admits that Netlist is a corporation organized and existing under the

 laws of the State of Delaware. Samsung lacks knowledge or information sufficient to form a

 belief as to the truth of the remaining allegations in Paragraph 3 of the Third Amended

 Complaint, and therefore denies them.

        4.      Samsung admits that SEC is the parent corporation of SEA. Samsung admits that

 SEC is a corporation organized and existing under the laws of the Republic of Korea, with its

 principal place of business at 129, Samsung-ro, Yeongtong-gu, Suwon-si, Gyeonggi-do, 443-

 742, Republic of Korea. Samsung denies Netlist’s allegation of “this Second Amended

 Complaint” and denies all allegations of patent infringement, and further denies that Netlist is



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  Samsung repeats the headings set forth in the Third Amended Complaint to simplify
 comparison of the Third Amended Complaint and this response. In doing so, Samsung makes no
 admissions regarding the substance of the headings or any other allegations of the Third
 Amended Complaint. Unless otherwise stated, to the extent that a particular heading can be
 construed as an allegation, Samsung specifically denies all such allegations.
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 entitled to any relief for its allegations of patent infringement. The remaining allegations in

 Paragraph 4 are vague and incomplete and Samsung denies them on that basis.

          5.     Samsung admits SEA is a corporation organized and existing under the laws of

 New York. Samsung admits that SEA maintains an office at 6625 Excellence Way, Plano, Texas

 75023 and that its registered agent is CT Corporation System, located at 1999 Bryan Street, Suite

 900, Dallas, Texas 75201. Samsung further admits that SEA is a wholly owned subsidiary of

 SEC. Samsung denies any remaining allegations of Paragraph 5. The remaining allegations in

 Paragraph 5 are vague and incomplete and Samsung denies them on that basis.

          6.     Samsung admits that SSI is a corporation organized and existing under the laws of

 California. Samsung admits that SSI’s registered agent is National Registered Agents, Inc., 1999

 Bryan St., Dallas, TX 75201. Samsung further admits that SSI is a wholly owned subsidiary of

 SEA. The remaining allegations in Paragraph 6 are vague and incomplete and Samsung denies

 them on that basis.

          7.     Samsung admits that it has sold certain products within the United States. The

 remaining allegations in Paragraph 7 are vague and incomplete and Samsung denies them on that

 basis.

                                   JURISDICTION AND VENUE

          8.     To the extent that the allegations of Paragraph 8 set forth legal conclusions, no

 response is required. Samsung admits that this Court has subject matter jurisdiction pursuant to

 28 U.S.C. § 1338 in that this action arises under the patent laws of the United States, 35 U.S.C.

 Title 35 § 101 et seq., but denies that Netlist’s claims are meritorious. Samsung denies all

 allegations of patent infringement, and further denies that Netlist is entitled to any relief for its

 allegations of patent infringement.



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        9.      To the extent that the allegations of Paragraph 9 set forth legal conclusions, no

 response is required. Samsung lacks knowledge or information sufficient to form a belief as to

 the truth of the remaining allegations of Paragraph 9, and therefore denies them.

        10.     To the extent that the allegations of Paragraph 10 set forth legal conclusions, no

 response is required. Samsung denies that SSI makes the Accused Instrumentalities in the State

 of Texas or the Eastern District of Texas. Samsung denies that SEA makes or sells the Accused

 Instrumentalities in the State of Texas or the Eastern District of Texas. Samsung denies any

 remaining allegations in Paragraph 10.

        11.     To the extent that the allegations of Paragraph 11 set forth legal conclusions, no

 response is required. Samsung denies that venue is proper in this Court and reserve the right to

 challenge venue in this case. Samsung admits that SEA maintains an office at 6625 Excellence

 Way, Plano, Texas 75023. Samsung denies that is has committed acts of infringement in this

 District or elsewhere, or that it has committed any act, directly or indirectly, that would give rise

 to any cause of action under the Third Amended Complaint. Samsung denies any remaining

 allegations in Paragraph 11.

        12.     Samsung admits that it did not contest venue in Emergent Mobile, Arbor, or

 Acorn solely for the purposes of those actions. See Emergent Mobile LLC v. Samsung Elecs.

 Co., Ltd., No. 2:22-cv-107, Dkt. No. 12 at ¶ 12 (E.D. Tex. Aug. 3, 2022) (“Samsung will not

 contest, for purposes of this case only, that venue over SEA properly lies in this District.”

 (emphasis added)); see also Arbor Global Strategies LLC v. Samsung Elecs. Co., Ltd., No. 2:19-

 cv-333, Dkt. No. 43 at ¶ 10 (E.D. Tex. Apr. 27, 2020) (“The Samsung Defendants, however, do

 not contest, solely for purposes of the present action, whether venue over them properly lies in

 this District, but the Samsung Defendants denies that venue in this District is convenient.”



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 (emphasis added)); see also Acorn Semi, LLC v. Samsung Elecs. Co., Ltd., No. 2:19-cv-347, Dkt.

 No. 14 at ¶ 29 (E.D. Tex. Feb. 12, 2020) (“Samsung does not contest at this time, and solely for

 the purpose of the present litigation, whether venue over it properly lies in this District, but

 SEC, SSI and SAS denies that venue in this District is convenient and SEC, SSI and SAS reserve

 the right to seek transfer to a more appropriate or convenient forum.” (emphasis added)). Except

 as expressly admitted, Samsung lacks knowledge or information sufficient to form a belief as to

 the truth of the remaining allegations of Paragraph 12, and therefore denies them.

                                   FACTUAL ALLEGATIONS

                                            Background

        13.     Samsung lacks knowledge or information sufficient to form a belief as to the truth

 of the allegations in Paragraph 13 of the Third Amended Complaint, and therefore denies them.

 Samsung further denies that the allegations in Paragraph 13 of the Third Amended Complaint are

 complete or accurate, and on that basis denies them.

        14.     Samsung admits the Patents-In-Suit purport to relate to memory modules.

 Samsung denies that the remaining allegations in Paragraph 14 of the Third Amended Complaint

 are complete or accurate, and on that basis denies them.

        15.     Samsung admits that the JEDEC Solid State Technology Association (“JEDEC”)

 is a standardization body that develops open standards and publications for a broad range of

 semiconductor technologies, including memory modules. Samsung admits that memory modules

 can include DDR4 and DDR3. Samsung admits that RDIMM and LRDIMM are types of

 memory modules. Samsung denies that the remaining allegations in Paragraph 15 of the Third

 Amended Complaint are complete or accurate, and on that basis denies them.




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         16.    Samsung admits dual in-line memory modules are a type of memory module.

 Samsung denies that the remaining allegations in Paragraph 16 of the Third Amended Complaint

 are complete or accurate, and on that basis denies them.

         17.    Samsung admits load reduced dual in-line memory modules and registered

 DIMMs are types of memory modules. Samsung denies that the remaining allegations in

 Paragraph 17 of the Third Amended Complaint are complete or accurate, and on that basis denies

 them.

         18.    Samsung lacks knowledge or information sufficient to form a belief as to the truth

 of the allegations in Paragraph 18 of the Third Amended Complaint, and therefore denies them.

         19.    Samsung denies that the allegations in Paragraph 19 of the Third Amended

 Complaint are complete or accurate, and on that basis denies them.

                                      The Asserted ’912 Patent

         20.    To the extent that the allegations of Paragraph 20 set forth legal conclusions, no

 response is required. Samsung admits that the ’912 patent states, on its face, that it is entitled

 “Memory Module Decoder” and that it lists Jayesh R. Bhakta and Jeffrey C. Solomon as

 inventors. Samsung further admits that the ’912 patent states, on its face, that it was filed as

 Application No. 11/862,931 on September 27, 2007, issued as a patent on November 17, 2009,

 and purports to claim priority to, among others, Provisional Application Nos. 60/588,244,

 60/550,668, and 60/575,595. Samsung lacks knowledge or information sufficient to form a

 belief as to the truth of the remaining allegations in Paragraph 20 of the Third Amended

 Complaint, and therefore denies them.

         21.    Samsung admits that, on July 6, 2021, Google made an indemnification request to

 SSI in connection with Netlist’s assertion in an action against Google asserting the ’912 patent

 against Google’s use of Samsung’s DDR4 LRDIMM and RDIMM memory modules. Samsung
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 lacks knowledge or information sufficient to form a belief as to the truth of the remaining

 allegations in Paragraph 21 of the Third Amended Complaint, and therefore denies them.

         22.    Samsung admits the Patents-In-Suit purport to relate to memory modules.

 Samsung denies that the allegations in Paragraph 22 of the Third Amended Complaint are

 complete or accurate, and on that basis denies them.

         23.    Samsung admits the ’912 patent recites “even though the memory module 10

 actually has the first number of ranks of memory devices 30, the memory module 10 simulates a

 virtual memory module by operating as having the second number of ranks of memory devices

 30” at 7:9-13. Samsung denies that the remaining allegations in Paragraph 23 of the Third

 Amended Complaint are complete or accurate, and on that basis denies them.

         24.    Samsung denies that the allegations in Paragraph 24 of the Third Amended

 Complaint are complete or accurate, and on that basis denies them.

         25.    Samsung admits the ’912 patent purports that Fig. 1A illustrates an exemplary

 memory module. Samsung admits the ’912 patent purports that element 60 is a register and

 element 40 in Figure 1A is a logic element. Samsung denies that the remaining allegations in

 Paragraph 25 of the Third Amended Complaint are complete or accurate, and on that basis denies

 them.

         26.    Samsung admits the ’912 patent purports that CS0 and CS1 are chip-select signals.

 Samsung admits the ’912 patent purports that BA0-BAm are bank address signals. Samsung

 admits the ’912 patent purports that An+1 is a row/column address signal. Samsung admits the

 ’912 patent purports that element 40 is a logic element. Samsung denies that the remaining

 allegations in Paragraph 26 of the Third Amended Complaint are complete or accurate, and on

 that basis denies them.



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        27.     Samsung denies that the allegations in Paragraph 27 of the Third Amended

 Complaint are complete or accurate, and on that basis denies them.

                                      The Asserted ’417 Patent

        28.     To the extent that the allegations of Paragraph 28 set forth legal conclusions, no

 response is required. Samsung admits that the ’417 patent states, on its face, that it is entitled

 “Memory Module With Data Buffering” and that it lists Jayesh R. Bhakta and Jeffrey C.

 Solomon as inventors. Samsung further admits that the ’417 patent states, on its face, that it was

 filed as Application No. 16/695,020 on November 25, 2019, issued as a patent on August 17,

 2021, and purports to claim priority to, among others, provisional application Nos. 60/645,087,

 60/590,038, 60/588,244, 60/550,668, and 60/575,595. Samsung lacks knowledge or information

 sufficient to form a belief as to the truth of the remaining allegations in Paragraph 28 of the Third

 Amended Complaint, and therefore denies them.

        29.     Samsung admits it gained knowledge of the ’417 patent via the First Amended

 Complaint. Samsung denies Netlist’s allegation of “this Second Amended Complaint.” Netlist’s

 allegation of Samsung’s alleged “access to Netlist’s patent portfolio docket” is vague and

 incomplete and Samsung denies this allegation on that basis.

        30.     Samsung admits the ’417 patent purports to relate to memory modules. Samsung

 admits the abstract of the ’417 patent states “[t]he circuitry is configurable to enable registered

 transfers of N-bit wide data signals associated with the memory read or write command between

 the N-bit wide memory bus and the memory devices in response to the data buffer control signals

 and in accordance with an overall CAS latency of the memory module, which is greater than an

 actual operational CAS latency of the memory devices.” Samsung denies that the remaining

 allegations in Paragraph 30 of the Third Amended Complaint are complete or accurate, and on

 that basis denies them.
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                                      The Asserted ’215 Patent

        31.     To the extent that the allegations of Paragraph 31 set forth legal conclusions, no

 response is required. Samsung admits that the ’215 patent states, on its face, that it is entitled

 “Memory Module With Data Buffering” and that it lists Jayesh R. Bhakta and Jeffrey C.

 Solomon as inventors. Samsung further admits that the ’215 patent states, on its face, that it was

 filed as Application No. 14/715,486 on May 18, 2015, issued as a patent on January 2, 2018, and

 purports to claim priority to, among others, provisional application Nos. 60/645,087, 60/590,038,

 60/588,244, 60/550,668, and 60/575,595. Samsung lacks knowledge or information sufficient to

 form a belief as to the truth of the remaining allegations in Paragraph 31 of the Third Amended

 Complaint, and therefore denies them.

        32.     Samsung admits it gained knowledge of the ’215 patent via this Third Amended

 Complaint. Netlist’s allegation of Samsung’s alleged “access to Netlist’s patent portfolio

 docket” is vague and incomplete and Samsung denies this allegation on that basis.

        33.     Samsung admits the ’215 patent purports to relate to memory modules. Samsung

 admits the abstract of the ’215 patent states: “The memory module further comprises logic

 providing first control signals to the buffer to enable communication of a first data burst between

 the memory controller and the at least one first memory integrated circuit through the buffer in

 response to a first memory command, and providing second control signals to the buffer to

 enable communication of a second data burst between the at least one second memory integrated

 circuit and the memory bus through the buffer in response to a second memory command.”

 Samsung denies that the remaining allegations in Paragraph 33 of the Third Amended Complaint

 are complete or accurate, and on that basis denies them.




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                                      The Asserted ’608 Patent

          34.     To the extent that the allegations of Paragraph 34 set forth legal conclusions, no

 response is required. Samsung admits that the ’608 patent states, on its face, that it is entitled

 “Memory Module with Timing-Controlled Data Paths in Distributed Data Buffers” and that it

 lists Hyun Lee and Jayesh R. Bhakta as inventors. Samsung further admits that the ’608 patent

 states, on its face, that it was filed as Application No. 15/820,076 on November 21, 2017, issued

 as a patent on April 23, 2019, and purports to claim priority to, among others, utility application

 no. 13/952,599 and provisional application no. 61/676,883. Samsung lacks knowledge or

 information sufficient to form a belief as to the truth of the remaining allegations in Paragraph 34

 of the Third Amended Complaint, and therefore denies them.

          35.     Samsung admits that Netlist filed a lawsuit on December 20, 2021 regarding U.S.

 Patent No 10,860,506 (the “’506 patent”) but Netlist dropped those allegations. Netlist’s

 allegations of Samsung’s alleged “access to Netlist’s patent portfolio docket” and “knowledge of

 the ’608 Patent via the Netlist’s litigation against Samsung regarding a patent in the same

 family” are vague and incomplete and Samsung denies these allegations on that basis.

                                        Samsung’s Activities2

          36.     Samsung denies all allegations of patent infringement, and further denies that

 Netlist is entitled to any relief for its allegations of patent infringement whether by award of

 damages, injunction, or otherwise. Samsung denies that the allegations in Paragraph 36 of the

 Third Amended Complaint are complete or accurate, and on that basis denies them.




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     Samsung denies the allegation contained in the header preceding Paragraph 36.
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                        FIRST CLAIM FOR RELIEF – ’912 PATENT

        37.     Samsung denies Netlist’s allegation of “this Second Amended Complaint.”

 Samsung incorporates by reference its responses to paragraphs 1-36 of the Third Amended

 Complaint.

        38.     To the extent that the allegations of Paragraph 38 set forth legal conclusions, no

 response is required. Samsung denies the allegations in Paragraph 38 of the Third Amended

 Complaint.

        39.     To the extent that the allegations of Paragraph 39 set forth legal conclusions, no

 response is required. Samsung admits that it sells DDR4 LRDIMM and DDR4 RDIMM

 products. Samsung admits that it creates specifications and datasheets for certain Samsung

 memory products. Samsung denies the remaining allegations in Paragraph 39 of the Third

 Amended Complaint.

        40.     To the extent that the allegations of Paragraph 40 set forth legal conclusions, no

 response is required. Samsung admits that it sells DDR4 LRDIMM and DDR4 RDIMM

 products. Samsung denies the remaining allegations in Paragraph 40 of the Third Amended

 Complaint.

        41.     To the extent that the allegations of Paragraph 41 set forth legal conclusions, no

 response is required. Samsung admits that it had knowledge of the ’912 patent as of July 6,

 2021. Samsung further admits that Netlist listed the ’912 patent (prior to the reexamination

 certificate) in a presentation purporting to be from 2015. Samsung denies the remaining

 allegations in Paragraph 41 of the Third Amended Complaint.




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                      SECOND CLAIM FOR RELIEF – ’417 PATENT

        42.    Samsung denies Netlist’s allegation of “this Second Amended Complaint.”

 Samsung incorporates by reference its responses to paragraphs 1-41 of the Third Amended

 Complaint.

        43.    To the extent that the allegations of Paragraph 43 set forth legal conclusions, no

 response is required. Samsung denies the allegations in Paragraph 43 of the Third Amended

 Complaint.

        44.    To the extent that the allegations of Paragraph 44 set forth legal conclusions, no

 response is required. Samsung admits Netlist’s Third Amended Complaint purports to include a

 depiction of a Samsung DDR4 LRDIMM from Samsung’s website at

 https://semiconductor.samsung.com/dram/module/lrdimm/m386a8k40bm1-crc/. Samsung

 admits Netlist’s Third Amended Complaint purports to include an excerpt from a Samsung

 datasheet for M386A8K40BM1-CRC. Samsung denies the remaining allegations in Paragraph

 44 of the Third Amended Complaint.

        45.    To the extent that the allegations of Paragraph 45 set forth legal conclusions, no

 response is required. Samsung admits Netlist’s Third Amended Complaint purports to include

 an excerpt from a Samsung datasheet for M386A8K40BM1-CRC. Samsung denies the

 remaining allegations in Paragraph 45 of the Third Amended Complaint.

        46.    To the extent that the allegations of Paragraph 46 set forth legal conclusions, no

 response is required. Samsung admits Netlist’s Third Amended Complaint purports to include

 an annotated, and therefore modified, depiction of a Samsung DDR4 LRDIMM from Samsung’s

 website at https://semiconductor.samsung.com/dram/module/lrdimm/m386a8k40bm1-crc/.

 Samsung admits Netlist’s Third Amended Complaint purports to include an excerpt from a

 Samsung Module Handling Guide. Samsung admits Netlist’s Third Amended Complaint
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 purports to include an excerpt from a Samsung datasheet for M386A8K40BM1-CRC. Samsung

 denies the remaining allegations in Paragraph 46 of the Third Amended Complaint.

        47.    To the extent that the allegations of Paragraph 47 set forth legal conclusions, no

 response is required. Samsung admits Netlist’s Third Amended Complaint purports to include

 an excerpt from a Samsung datasheet for M386A8K40BM1-CRC. Samsung admits Netlist’s

 Third Amended Complaint purports to include an excerpt from the JEDEC 82-31A RCD

 Standard. Samsung denies the remaining allegations in Paragraph 47 of the Third Amended

 Complaint.

        48.    To the extent that the allegations of Paragraph 48 set forth legal conclusions, no

 response is required. Samsung admits Netlist’s Third Amended Complaint purports to include

 an excerpt from the JEDEC 82-32A Data Buffer Standard. Samsung denies the remaining

 allegations in Paragraph 48 of the Third Amended Complaint.

        49.    To the extent that the allegations of Paragraph 49 set forth legal conclusions, no

 response is required. Samsung admits Netlist’s Third Amended Complaint purports to include

 an annotated, and therefore modified, excerpt from a Samsung datasheet for M386A8K40BM1-

 CRC. Samsung admits Netlist’s Third Amended Complaint purports to include an excerpt from

 the JEDEC DDR4 SDRAM Standard 79-4C. Samsung denies the remaining allegations in

 Paragraph 49 of the Third Amended Complaint.

        50.    To the extent that the allegations of Paragraph 50 set forth legal conclusions, no

 response is required. Samsung admits Netlist’s Third Amended Complaint purports to include

 an annotated, and therefore modified, excerpt from a Samsung datasheet for M386A8K40BM1-

 CRC. Samsung admits Netlist’s Third Amended Complaint purports to include an excerpt from




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 the JEDEC 82-32A Data Buffer Standard. Samsung denies the remaining allegations in

 Paragraph 50 of the Third Amended Complaint.

        51.    To the extent that the allegations of Paragraph 51 set forth legal conclusions, no

 response is required. Samsung admits Netlist’s Third Amended Complaint purports to include

 an excerpt from the JEDEC 82-32A Data Buffer Standard. Samsung admits Netlist’s Third

 Amended Complaint purports to include an excerpt from the JEDEC 82-31A RCD Standard.

 Samsung denies the remaining allegations in Paragraph 51 of the Third Amended Complaint.

        52.    To the extent that the allegations of Paragraph 52 set forth legal conclusions, no

 response is required. Samsung admits Netlist’s Third Amended Complaint purports to include

 an excerpt from the JEDEC 82-32A Data Buffer Standard. Samsung denies the remaining

 allegations in Paragraph 52 of the Third Amended Complaint.

        53.    To the extent that the allegations of Paragraph 53 set forth legal conclusions, no

 response is required. Samsung admits that it sells DDR4 LRDIMM products. Samsung admits

 that it creates specifications and datasheets for certain Samsung memory products. Samsung

 denies the remaining allegations in Paragraph 53 of the Third Amended Complaint.

        54.    To the extent that the allegations of Paragraph 54 set forth legal conclusions, no

 response is required. Samsung admits that it sells DDR4 LRDIMM products. Samsung denies

 the remaining allegations in Paragraph 54 of the Third Amended Complaint.

        55.    To the extent that the allegations of Paragraph 55 set forth legal conclusions, no

 response is required. Samsung admits that Netlist listed U.S. Patent Nos. 7,532,537 and

 7,636,274 in a presentation purporting to be from 2012. Samsung admits that Netlist listed U.S.

 Patent Nos. 7,532,537, 7,636,274, and 8,516,188 in a presentation purporting to be from 2015.

 Samsung admits that Netlist listed U.S. Patent No. 7,532,537 in an undated document that Netlist



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 purports to have emailed to Samsung in 2016. Samsung admits that Netlist listed U.S.

 Application No. 16/695,020 in an undated document that Netlist purports to have produced on

 August 2, 2021. Samsung admits that the ’417 patent was listed in an exhibit to a letter

 purporting to be dated June 8, 2022. Samsung denies the remaining allegations in Paragraph 55

 of the Third Amended Complaint.

                        THIRD CLAIM FOR RELIEF – ’215 PATENT

        56.     Samsung denies Netlist’s allegation of “this Second Amended Complaint.”

 Samsung incorporates by reference its responses to paragraphs 1-55 of the Third Amended

 Complaint.

        57.     To the extent that the allegations of Paragraph 57 set forth legal conclusions, no

 response is required. Samsung denies the allegations in Paragraph 57 of the Third Amended

 Complaint.

        58.     To the extent that the allegations of Paragraph 58 set forth legal conclusions, no

 response is required. Samsung admits Netlist’s Third Amended Complaint purports to include a

 depiction of a Samsung DDR4 LRDIMM from Samsung’s website at

 https://semiconductor.samsung.com/dram/module/lrdimm/m386a8k40bm1-crc/. Samsung

 admits Netlist’s Third Amended Complaint purports to include an excerpt from a Samsung

 datasheet for M386A8K40BM1-CRC. Samsung denies the remaining allegations in Paragraph

 58 of the Third Amended Complaint.

        59.     To the extent that the allegations of Paragraph 59 set forth legal conclusions, no

 response is required. Samsung admits Netlist’s Third Amended Complaint purports to include

 an annotated, and therefore modified, excerpt from the JEDEC DDR4 SDRAM Standard 79-4C.

 Samsung denies the remaining allegations in Paragraph 59 of the Third Amended Complaint.



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        60.    To the extent that the allegations of Paragraph 60 set forth legal conclusions, no

 response is required. Samsung admits Netlist’s Third Amended Complaint purports to include a

 depiction of a Samsung DDR4 LRDIMM from Samsung’s website at

 https://semiconductor.samsung.com/dram/module/lrdimm/m386a8k40bm1-crc/. Samsung

 admits Netlist’s Third Amended Complaint purports to include an excerpt from a Samsung

 Module Handling Guide. Samsung admits Netlist’s Third Amended Complaint purports to

 include an excerpt from a Samsung datasheet for M386A8K40BM1-CRC. Samsung denies the

 remaining allegations in Paragraph 60 of the Third Amended Complaint.

        61.    To the extent that the allegations of Paragraph 61 set forth legal conclusions, no

 response is required. Samsung admits Netlist’s Third Amended Complaint purports to include

 an excerpt from a Samsung datasheet for M386A8K40BM1-CRC. Samsung admits Netlist’s

 Third Amended Complaint purports to include an excerpt from the JEDEC DDR4 SDRAM

 Standard 79-4C. Samsung denies the remaining allegations in Paragraph 61 of the Third

 Amended Complaint.

        62.    To the extent that the allegations of Paragraph 62 set forth legal conclusions, no

 response is required. Samsung admits Netlist’s Third Amended Complaint purports to include

 an annotated, and therefore modified, excerpt from a Samsung datasheet for M386A8K40BM1-

 CRC. Samsung denies the remaining allegations in Paragraph 62 of the Third Amended

 Complaint.

        63.    To the extent that the allegations of Paragraph 63 set forth legal conclusions, no

 response is required. Samsung admits Netlist’s Third Amended Complaint purports to include

 an annotated, and therefore modified, excerpt from the JEDEC DDR4 SDRAM Standard 79-4C.

 Samsung denies the remaining allegations in Paragraph 63 of the Third Amended Complaint.



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        64.    To the extent that the allegations of Paragraph 64 set forth legal conclusions, no

 response is required. Samsung admits Netlist’s Third Amended Complaint purports to include

 an annotated, and therefore modified, excerpt from a Samsung datasheet for M386A8K40BM1-

 CRC. Samsung admits Netlist’s Third Amended Complaint purports to include an excerpt from

 the JEDEC 82-32A Data Buffer Standard. Samsung denies the remaining allegations in

 Paragraph 64 of the Third Amended Complaint.

        65.    To the extent that the allegations of Paragraph 65 set forth legal conclusions, no

 response is required. Samsung admits Netlist’s Third Amended Complaint purports to include

 an excerpt from the JEDEC 82-32A Data Buffer Standard. Samsung denies the remaining

 allegations in Paragraph 65 of the Third Amended Complaint.

        66.    To the extent that the allegations of Paragraph 66 set forth legal conclusions, no

 response is required. Samsung admits that it sells DDR4 LRDIMM products. Samsung admits

 that it creates specifications and datasheets for certain Samsung memory products. Samsung

 denies the remaining allegations in Paragraph 66 of the Third Amended Complaint.

        67.    To the extent that the allegations of Paragraph 67 set forth legal conclusions, no

 response is required. Samsung admits that it sells DDR4 LRDIMM products. Samsung denies

 the remaining allegations in Paragraph 67 of the Third Amended Complaint.

        68.    To the extent that the allegations of Paragraph 68 set forth legal conclusions, no

 response is required. Samsung admits that Netlist listed U.S. Patent Nos. 7,532,537 and

 7,636,274 in a presentation purporting to be from 2012. Samsung admits that Netlist listed U.S.

 Patent Nos. 7,532,537, 7,636,274, and 8,516,188 in a presentation purporting to be from 2015.

 Samsung admits that Netlist listed U.S. Patent No. 7,532,537 in an undated document that Netlist

 purports to have emailed to Samsung in 2016. Samsung admits that Netlist listed the ’215 patent



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 in an undated document that Netlist purports to have produced on August 2, 2021. Samsung

 denies the remaining allegations in Paragraph 68 of the Third Amended Complaint.

                      FOURTH CLAIM FOR RELIEF – ’608 PATENT

        69.    Samsung denies Netlist’s allegation of “this Second Amended Complaint.”

 Samsung incorporates by reference its responses to paragraphs 1-68 of the Third Amended

 Complaint.

        70.    To the extent that the allegations of Paragraph 70 set forth legal conclusions, no

 response is required. Samsung admits Netlist’s Third Amended Complaint purports to include a

 depiction of a Samsung DDR4 LRDIMM from Samsung’s website at

 https://semiconductor.samsung.com/dram/module/lrdimm/m386a8k40bm1-crc/. Samsung

 denies the remaining allegations in Paragraph 70 of the Third Amended Complaint.

        71.    To the extent that the allegations of Paragraph 71 set forth legal conclusions, no

 response is required. Samsung admits Netlist’s Third Amended Complaint purports to include

 an excerpt from a Samsung datasheet for M386A8K40BM1-CRC. Samsung denies the

 remaining allegations in Paragraph 71 of the Third Amended Complaint.

        72.    To the extent that the allegations of Paragraph 72 set forth legal conclusions, no

 response is required. Samsung admits Netlist’s Third Amended Complaint purports to include a

 depiction of a Samsung DDR4 LRDIMM from Samsung’s website at

 https://semiconductor.samsung.com/dram/module/lrdimm/m386a8k40bm1-crc/. Samsung

 denies the remaining allegations in Paragraph 72 of the Third Amended Complaint.

        73.    To the extent that the allegations of Paragraph 73 set forth legal conclusions, no

 response is required. Samsung admits Netlist’s Third Amended Complaint purports to include a

 depiction of a Samsung DDR4 LRDIMM from Samsung’s website at

 https://semiconductor.samsung.com/dram/module/lrdimm/m386a8k40bm1-crc/. Samsung
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 admits Netlist’s Third Amended Complaint purports to include an excerpt from a Samsung

 datasheet for M386A8K40BM1-CRC. Samsung admits Netlist’s Third Amended Complaint

 purports to include an excerpt from the JEDEC 82-32A Data Buffer Standard. Samsung denies

 the remaining allegations in Paragraph 73 of the Third Amended Complaint.

        74.    To the extent that the allegations of Paragraph 74 set forth legal conclusions, no

 response is required. Samsung admits Netlist’s Third Amended Complaint purports to include a

 depiction of a Samsung DDR4 LRDIMM from Samsung’s website at

 https://semiconductor.samsung.com/dram/module/lrdimm/m386a8k40bm1-crc/. Samsung

 admits Netlist’s Third Amended Complaint purports to include an excerpt from a Samsung

 datasheet for M386A8K40BM1-CRC. Samsung denies the remaining allegations in Paragraph

 74 of the Third Amended Complaint.

        75.    To the extent that the allegations of Paragraph 75 set forth legal conclusions, no

 response is required. Samsung admits Netlist’s Third Amended Complaint purports to include a

 depiction of a Samsung DDR4 LRDIMM from Samsung’s website at

 https://semiconductor.samsung.com/dram/module/lrdimm/m386a8k40bm1-crc/. Samsung

 denies the remaining allegations in Paragraph 75 of the Third Amended Complaint.

        76.    To the extent that the allegations of Paragraph 76 set forth legal conclusions, no

 response is required. Samsung admits Netlist’s Third Amended Complaint purports to include

 an excerpt from a Samsung datasheet for M386A8K40BM1-CRC. Samsung admits Netlist’s

 Third Amended Complaint purports to include an excerpt from the JEDEC 82-32A Data Buffer

 Standard. Samsung denies the remaining allegations in Paragraph 76 of the Third Amended

 Complaint.




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        77.    To the extent that the allegations of Paragraph 77 set forth legal conclusions, no

 response is required. Samsung admits Netlist’s Third Amended Complaint purports to include

 an excerpt from a Samsung datasheet for M386A8K40BM1-CRC. Samsung denies the

 remaining allegations in Paragraph 77 of the Third Amended Complaint.

        78.    To the extent that the allegations of Paragraph 78 set forth legal conclusions, no

 response is required. Samsung admits Netlist’s Third Amended Complaint purports to include

 an excerpt from the JEDEC 82-32A Data Buffer Standard. Samsung denies the remaining

 allegations in Paragraph 78 of the Third Amended Complaint.

        79.    To the extent that the allegations of Paragraph 79 set forth legal conclusions, no

 response is required. Samsung admits that it sells DDR4 LRDIMM products. Samsung admits

 that it creates specifications and datasheets for certain Samsung memory products. Samsung

 denies the remaining allegations in Paragraph 79 of the Third Amended Complaint.

        80.    To the extent that the allegations of Paragraph 80 set forth legal conclusions, no

 response is required. Samsung admits that it sells DDR4 LRDIMM products. Samsung denies

 the allegations in Paragraph 80 of the Third Amended Complaint.

        81.    To the extent that the allegations of Paragraph 81 set forth legal conclusions, no

 response is required. Samsung admits that Netlist listed U.S. Patent No. 9,128,632 in an undated

 document that Netlist purports to have emailed to Samsung in 2016. Samsung admits that Netlist

 listed the ’608 patent in an undated document that Netlist purports to have produced on August

 2, 2021. Samsung denies the remaining allegations in Paragraph 81 of the Third Amended

 Complaint.




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                                   DEMAND FOR JURY TRIAL

        82.     Samsung admits that Netlist demands a trial by jury, and Samsung likewise

 demands a trial by jury on all issues so triable. Samsung denies the remaining allegations in

 Paragraph 82 of the Third Amended Complaint.

                              [NETLIST’S] PRAYER FOR RELIEF

        Samsung denies the underlying allegations of Netlist’s Prayer for Relief against

 Samsung, denies that Netlist is entitled to any relief whatsoever, and requests that the Court

 denies all relief to Netlist, enter judgment in favor of Samsung, and award Samsung its

 attorney’s fees as the prevailing party in the action.

                                        GENERAL DENIAL

        To the extent that any allegations of the Third Amended Complaint have not been

 previously specifically admitted or denied, Samsung denies them.

                            SAMSUNG’S ADDITIONAL DEFENSES

        Pursuant to Federal Rule of Civil Procedure 8(c), Samsung, without waiver, limitation or

 prejudice, hereby asserts the additional defenses listed below. Samsung reserves the right to

 amend this Answer to add additional defenses, and/or any other defenses currently unknown to

 Samsung, as they become known throughout the course of discovery in this action. The

 assertion of a defense is not a concession that Samsung has the burden of proving the matter

 asserted.

                                 FIRST ADDITIONAL DEFENSE
                                      (Non-Infringement)

        Samsung does not infringe and has not infringed, under any theory of infringement,

 including directly (whether individually or jointly) or indirectly (whether contributorily or by




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 inducement), any valid, enforceable claim of the Patents-In-Suit, either literally or under the

 Doctrine of Equivalents, and has not committed any acts in violation of 35 U.S.C. § 271.

                              SECOND ADDITIONAL DEFENSE
                                      (Invalidity)

        Each asserted claim of the Patents-In-Suit is invalid for failure to comply with one or

 more of the requirements of United States Code, Title 35, including, without limitation, 35

 U.S.C. §§ 101, 102, 103, and/or 112, and the rules, regulations, and laws pertaining thereto.

                                THIRD ADDITIONAL DEFENSE
                                (Laches, Estoppel, and/or Waiver)

        Netlist’s attempted enforcement of the Patents-In-Suit against Samsung is barred by

 laches, estoppel, and/or waiver. For example, to the extent the Patents-In-Suit are essential to

 one or more JEDEC standards, Netlist is estopped from enforcing the Patents-In-Suit against

 Samsung because of its failure to comply with its RAND obligations. As another example, to the

 extent the Patents-In-Suit are essential to one or more JEDEC standards, Netlist is estopped from

 seeking an injunction or lost profits by its RAND obligations. In addition, Netlist is equitably

 estopped from enforcing the ’215, ’417, and ’608 patents because Netlist, including its JEDEC

 representatives, believed (at least as of the filing of the Third Amended Complaint and/or service

 of its infringement contentions in this case regarding DDR4 LRDIMM products) that these

 patents are or may be essential patents to DDR4 LRDIMM based on its infringement allegations

 (with which Samsung disagrees), and yet elected not to disclose them to JEDEC, thus failing to

 comply with its JEDEC obligations, and thereby materially prejudicing Samsung and other

 JEDEC members because JEDEC worked on DDR4 standards without considering the numerous

 alternatives that would have avoided Netlist’s patents (based on Netlist’s interpretation of the

 claims, with which Samsung disagrees). In addition, Netlist is equitably estopped from

 enforcing the ’912 patent because Netlist, including its JEDEC representatives, believed (at least

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 as of the filing of the Complaint and/or service of its infringement contentions in this case) that

 this patent is or may be essential to multiple DDR standards (e.g., DDR2, DDR3, and DDR4

 standards) based on its infringement allegations (with which Samsung disagrees), and yet elected

 not to disclose them to JEDEC as to any DDR standards apart from DDR3 LRDIMM, thus

 failing to comply with its JEDEC obligations, and thereby materially prejudicing Samsung and

 other JEDEC members because JEDEC worked on DDR standards (e.g., DDR4) without

 considering the numerous alternatives that would have avoided Netlist’s patents (based on

 Netlist’s interpretation of the claims, with which Samsung disagrees).

                               FOURTH ADDITIONAL DEFENSE
                                 (Prosecution History Estoppel)

        Netlist’s claims are barred by the doctrine of prosecution history estoppel and/or

 disclaimer based on amendments, statements, representations, and admissions made during

 prosecution and/or reexamination of the patent applications resulting in the Patents-In-Suit.

 Although Netlist’s infringement contentions purport to assert infringement under the doctrine of

 equivalents for elements that are not literally infringed, prosecution history estoppel bars Netlist

 from asserting the doctrine of equivalents. For example, Netlist amended claim 16 of the ’912

 patent during reexamination by rewriting it in independent form while cancelling original claim

 15; thus, prosecution history estoppel precludes Netlist from asserting that the additional

 limitations of claim 16 (not present in original claim 15) are infringed under the doctrine of

 equivalents. As another example, Netlist amended claim 1 of U.S. Patent No. 9,128,632 (the

 “’632 patent”), a parent patent of the ’608 patent, to overcome the prior art. The Examiner

 rejected claim 1 of the ’608 patent due to double patenting over claim 1 of the ’632 patent.

 Netlist acceded to the Examiner’s rejection and filed a terminal disclaimer; thus, prosecution

 history estoppel precludes Netlist from asserting that the amended limitations of claim 1 of the


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 ’632 patent which are similarly found in the ’608 patent are infringed under the doctrine of

 equivalents. To the extent Netlist is permitted to provide more detailed infringement theories

 asserting the doctrine of equivalents for this or other limitations of the asserted claims, Samsung

 reserves the right to respond with more detailed prosecution history estoppel allegations.

                                FIFTH ADDITIONAL DEFENSE
                                         (Marking)

        Any claim for damages by Netlist is limited by its failure to mark, including without

 limitation, to the extent Netlist contends there are products covered by the Patents-In-Suit,

 Netlist’s failure to mark its own products with the numbers of the Patents-In-Suit and/or its

 failure to require and/or police the marking of Netlist’s customers and licensees.

                                SIXTH ADDITIONAL DEFENSE
                                  (Notice, Damages, and Costs)

        Netlist’s claims for damages are statutorily limited under 35 U.S.C. §§ 286 and 287.

 Netlist is barred from recovering costs in connection with this action under 35 U.S.C. § 288.

 Netlist’s claims for relief are limited by the doctrines of full compensation, exhaustion, and/or

 first sale, and Netlist is not entitled to a double recovery. For example, to the extent the Patents-

 In-Suit are essential to one or more JEDEC standards, Netlist is barred from seeking lost profits

 by its RAND obligations.

                              SEVENTH ADDITIONAL DEFENSE
                                     (Express License)

        Netlist’s claims are barred in whole or in part by express license.

        On November 12, 2015, Netlist and SEC entered into a Joint Development and License

 Agreement (the “Agreement”). The Agreement contains cross-license, joint development, and

 product supply provisions.




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        In the Agreement, Netlist granted SEC and its subsidiaries, including SSI, a perpetual,

 paid-up, worldwide, non-exclusive license to all patents owned or controlled by Netlist or any of

 its subsidiaries having an effective first filing date on or prior to November 12, 2020. All of the

 Patents-In-Suit have effective first filing dates prior to November 12, 2020. The license extends

 through the expiration of the last to expire of the licensed patents.

        SEC similarly granted Netlist and its subsidiaries a perpetual, paid-up, worldwide, non-

 exclusive license to all patents owned or controlled by SEC or any of its subsidiaries having an

 effective first filing date on or prior to November 12, 2020. The Agreement required SEC to

 make a payment to Netlist of $8 million subject to the terms and conditions therein. SEC made

 this payment to Netlist except for a portion that was remitted as tax withholding to the Korean

 tax authorities, which later refunded the withheld portion to Netlist.

        Netlist is now taking extraordinary actions to back out of its grant of a patent license to

 Samsung.

        On May 27, 2020, Netlist’s Chief Licensing Officer, Marc J. Frechette, wrote to Mr.

 Seung Min Sung of SEC, and alleged that Samsung materially breached the Agreement by

 allegedly “repeatedly fail[ing] to fulfill Netlist’s request for NAND and DRAM products

 throughout the term of the Agreement” and, allegedly, by improperly deducting withholding

 taxes. Netlist did not allege, and has never alleged, that Samsung breached the Agreement in any

 way related to the patent cross-license. In the same letter—which was the first time Netlist

 raised its breach allegations—Mr. Frechette informed Mr. Sung that Netlist had filed a complaint

 in U.S. District Court for the Central District of California with respect to the alleged breach by

 Samsung and provided a copy of the complaint for reference.




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        On May 28, 2020, the U.S. District Court for the Central District of California docketed

 Netlist’s breach of contract complaint against SEC. Netlist, Inc. v. Samsung Elecs. Co., Ltd., No.

 8:20-cv-00993-MCS (C.D. Cal.) (“Breach Action”).

        Netlist subsequently wrote to SEC to terminate the Agreement, including the patent

 license to SEC and its subsidiaries. On July 15, 2020, Netlist’s Chief Licensing Officer, Marc J.

 Frechette, wrote to Mr. Seung Min Sung of SEC and stated that “Netlist is hereby terminating,

 effective immediately, the Agreement including the patent license granted to Samsung. . . .”

        One week later, on July 22, 2020, Netlist amended its complaint in the Breach Action,

 seeking a declaration that the license it granted Samsung, but not the license Samsung granted

 Netlist, is terminated. In the Breach Action, Netlist seeks monetary damages and a declaration

 “that Netlist has terminated the Agreement pursuant to Section 13.2 and that Samsung’s licenses

 and rights under the agreement have ceased.”

        On October 14, 2021, the court in the Breach Action issued a confidential order granting

 summary judgment in favor of Netlist on Netlist’s Third Claim for Relief, which seeks a

 declaration that Netlist terminated Samsung’s license effective July 20, 2020. See Netlist, Inc. v.

 Samsung Elecs. Co., Ltd., No. 8:20-cv-00993-MCS, Dkt. No. 186 (C.D. Cal.). The court also

 granted summary judgment in Netlist’s favor that Samsung was liable for certain alleged

 breaches of other provisions in the Agreement. See id.

        Beginning on December 1, 2021, the court in the Breach Action held a jury trial on

 damages for one of the alleged breaches (the alleged failure to fulfill Netlist’s orders for NAND

 and DRAM products). On December 3, 2021, the jury returned a verdict in Samsung’s favor,

 finding that Netlist failed to prove that it suffered any damages for this alleged breach. See

 Breach Action, Dkt. No. 276.



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         On January 10, 2022, Samsung filed a motion for entry of judgment in Samsung’s favor

 as to Netlist’s First and Second Claims for Relief and, as to Netlist’s Third Claim for Relief, for

 entry of judgment in Samsung’s favor or, in the alternative, a trial on the claim. On February 15,

 2022, the Court in the Breach Action entered judgment in favor of Netlist on the First and

 Second Claims for Relief and awarded nominal damages in the amount of $1.00 for each claim.

 See Breach Action, Dkt. No. 306. Further, the Court entered judgment in favor of Netlist on the

 Third Claim for declaratory relief finding that Netlist terminated the Agreement and that

 Samsung’s licenses and rights under the Agreement have ceased. See id.

         On February 25, 2022, SEC appealed the judgment entered in the Breach Action to the

 Ninth Circuit. See Breach Action, Dkt. No. 309. SEC maintains that it did not breach the

 Agreement, that the Agreement has not been terminated, and that it continues to hold a paid-up,

 worldwide, non-exclusive license to Netlist’s patents, including the Patents-In-Suit. All of

 Samsung’s sales of the Accused Instrumentalities are therefore licensed to the asserted patents in

 this case, and Netlist is further barred from claiming infringement for those Accused

 Instrumentalities under patent exhaustion.

         Further, regardless of whether the Agreement was properly terminated (which Samsung

 disputes), Samsung is not liable for infringement of the Patents-In-Suit for any memory modules

 made, used, sold, offered for sale, or imported before July 20, 2020, the date on which the

 purported termination became effective. Accordingly, at least Samsung’s sales of the Accused

 Instrumentalities made, used, sold, offered for sale, or imported before July 20, 2020 are licensed

 to the asserted patents in this case.




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                               EIGHTH ADDITIONAL DEFENSE
                                   (Not an Exceptional Case)

        Netlist is not entitled to a finding that this case is exceptional warranting attorneys’ fees

 under 35 U.S.C. § 285, or pursuant to the Court’s inherent power.

                               NINTH ADDITIONAL DEFENSE
                                  (No Willful Infringement)

        Netlist’s claims for enhanced damages, if any, and an award of fees and costs against

 Samsung have no basis in fact or law and should be denied.

                               TENTH ADDITIONAL DEFENSE
                                    (Prosecution laches)

        Netlist’s attempted enforcement of the Patents-In-Suit against Samsung is barred by

 prosecution laches.

                              ELEVENTH ADDITIONAL DEFENSE
                                     (Improper Venue)

        Samsung denies that venue is proper in this Court, including pursuant to 28 U.S.C. §§

 1391(b) and (c) and/or 1400(b).

                             TWELFTH ADDITIONAL DEFENSE
                           (Inequitable Conduct and Unclean Hands)

        At least the ’912 and ’608 patents are unenforceable due to inequitable conduct, and the

 Patents-In-Suit are unenforceable due to unclean hands.

        1.      ’912 Patent

                a. Netlist Individuals Substantively Involved in the ’912 Reexamination

        On information and belief, at least the following people associated with Netlist were

 substantively involved in the inter partes reexamination proceedings with respect to the ’912

 patent: Gail Sasaki, Mehran Arjomand, and David S. Kim (collectively “Netlist Individuals

 Substantively Involved in the ’912 Patent Reexamination”).


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        On information and belief, Gail Sasaki was, during the reexamination proceedings for the

 ’912 patent, an employee and/or contractor for Netlist who signed a power of attorney appointing

 counsel of record to prosecute the reexamination proceeding on behalf of Netlist.

        Mehran Arjomand and David S. Kim served as counsel of record for Netlist in

 connection with the inter partes reexamination proceedings for the ’912 patent.

        On information and belief, the Netlist Individuals Substantively Involved in the ’912

 Patent Reexamination withheld information that they knew to be material to the patentability of

 the ’912 patent with the specific intent to deceive the United States Patent and Trademark Office

 (“Patent Office”) in order to secure allowance of certain amended claims.

        On information and belief, each of the Netlist Individuals Substantively Involved in the

 ’912 Patent Reexamination is an individual associated with the prosecution of the ’912 patent

 during the inter partes reexamination proceedings, which ultimately led to the issuance of an

 Inter Partes Reexamination Certificate on February 8, 2021.

                b. Netlist Made Narrowing Amendments to Claims During Reexamination

        The ’912 patent was originally filed in the United States on September 27, 2007 by

 inventors Jayesh R. Bhakta and Jeffrey C. Solomon. The ’912 patent, titled “Memory Module

 Decoder,” issued on November 17, 2009. Netlist claims to own all rights, title, and interest in

 the ’912 patent.

        On April 20, 2010, a first request for inter partes reexamination of claims 1–51 of the

 ’912 patent was filed by third party requester Inphi. The Patent Office assigned this request

 control No. 95/001,339 (“’339 proceeding”) and ultimately ordered the reexamination of claims

 1–51 of the ’912 patent on September 1, 2010.




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        On October 20, 2010, a second request for inter partes reexamination of claims 1, 6, 3–4,

 6–11, 15, 18–22, 24–25, 27–29, 31–34, 36–39, 41–45, and 50 of the ’912 patent was filed by

 third party requester SMART Modular Technologies (WWH), Inc. (“SMART”). The Patent

 Office assigned this request control No. 95/000,578 (“’578 proceeding”) and ordered

 reexamination of claims 1, 3–4, 6–11, 15, 18–22, 24–25, 27–29, 31–34, 36–39, 41–45, and 50 of

 the ’912 patent on January 14, 2011.

        On October 21, 2010, a third request for inter partes reexamination of claims 1, 3–4, 6–

 11, 15, 18–22, 24–25, 27–29, 31–34, 36–39, 41–45, and 50 of the ’912 patent was filed by

 Google. The Patent Office assigned this request control No. 95/000,579 (“’579 proceeding”) and

 ordered reexamination of claims 1, 3–4, 6–11, 15, 18–22, 24–25, 27–29, 31–34, 36–39, 41–45,

 and 50 of the ’912 patent on January 18, 2011.

        The Examiner in the ’578, ’579, and ’339 proceedings agreed with Inphi, SMART, and

 Google that the proposed combination of Micron, DDR SDRAM RDIMM, MT36VDDF12872

 & MT36VDDF28672 Data Sheet, 2002 (“Micron”) in view of U.S. Patent Application

 Publication No. 2006/0117152 (“Amidi”) presented a substantial new question of patentability

 and that “a reasonable examiner would consider the teaching of Micron and Amidi important in

 deciding the patentability of” the challenged claims. See January 14, 2011 Reexamination

 Ordered.

        On February 25, 2011, the Patent Office sua sponte merged the ’578, ’579, and ’339

 proceedings into a single matter, as all three proceedings were pending, had yet to be terminated,

 and involved overlapping claims of the same patent.

        After the merger, Netlist argued against the pending rejections of the existing claims and

 added new claims 52–118. See Netlist’s July 5, 2011 Response to Office Action in Inter Partes



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 Reexamination Communication Mailed April 4, 2011. For example, Netlist argued that the

 phase-lock loop device disclosed in Amidi was not “operatively coupled” to its CPLD. Netlist

 narrowed the scope of the “operatively coupled” feature by arguing that in the context of the

 ’912 patent the phrase means that “the operations of the logic element 40 are clocked either

 directly or indirectly (e.g., through a clock buffer) by the output of the PLL 50” and that “the

 output of the PLL 50 controls the operation of the logic element 40.”

        Google responded by explaining how Micron and Amidi rendered obvious both the

 original and new claims. See August 29, 2011 Response. Google also explained how Micron,

 Amidi, U.S. Patent No. 5,926,827 (“Dell 2”), and Double Data Rate (DDR) SDRAM

 Specification, JEDEC Standard No. 79C, March 2003 (“JEDEC 79C”) rendered obvious the new

 claims. Id. The Examiner adopted some aspects of the grounds raised by Google, rejected other

 aspects, and declined to adopt other grounds. See October 14, 2011 Non-Final Office Action.

 Netlist responded by canceling some of its claims, amending most of the remaining claims, and

 adding new claims 119–136. See January 14, 2012 Netlist’s Response after Non-Final Action.

 Google again responded by continuing to argue, among other things, that Micron, Amidi, Dell 2,

 and/or JEDEC 79C rendered obvious a set of the pending claims. See February 23, 2012

 Google’s Response.

        The Examiner then adopted additional grounds for rejection and maintained certain

 earlier rejections. See November 13, 2012 Non-Final Action. Netlist responded by canceling

 certain claims, further amending other claims, and arguing against the rejections. See January

 14, 2013 Netlist’s Response after Non-Final Action. Google again explained why various

 combinations of Micron, Amidi, Dell 2, and JEDEC 79C (among other references) rendered the

 claims obvious. See February 13, 2013 Google’s Response.



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        The Examiner issued an Action Closing Prosecution, which maintained several

 rejections, withdrew others, and found certain rejections moot due to Netlist canceling certain

 claims. See March 21, 2014 Action Closing Prosecution. The Examiner issued a Right of

 Appeal Notice, and Google appealed the Examiner’s unadopted portions of certain grounds. See

 July 18, 2014 Google’s Notice of Appeal. Netlist cross-appealed on the grounds of rejection the

 Examiner maintained. See July 30, 2014 Netlist’s Notice of Cross Appeal.

        The PTAB, in its first appeal decision, affirmed the Examiner’s adoption of certain

 aspects of the ground involving Micron in view of Amidi, reversed the Examiner’s refusal to

 adopt other aspects of this ground, reversed the Examiner’s refusal to adopt the ground involving

 Micron in view of Amidi and Olarig, and declined to reach the merits on the ground involving

 Micron in view of Amidi, Dell 2, and JEDEC 79C. See June 6, 2016 Decision on Appeal.

        Netlist then requested that the PTO reopen prosecution, canceling certain claims and

 amending most of the remaining claims. See July 31, 2016 Netlist’s Response Requesting to

 Reopen Prosecution. It was in this set of amendments in which Netlist amended claim 1 and

 several other claims to include the following language:

            •   “wherein, in response to signals received from the computer system, the phase-
                lock loop (PLL) device transmits a PLL clock signal to the plurality of DDR
                memory devices, the logic element, and the register” (“PLL device limitation”);
            •   “wherein, the register (i) receives, from the computer system, and (ii) buffers, in
                response to the PLL clock signal, a plurality of row/column address signals and
                the bank address signals, and (iii) transmits the buffered plurality of row/column
                address signals and the buffered bank address signals to the plurality of DDR
                memory devices” (“register limitation”); and
            •   “wherein the logic element generates gated column access strobe (CAS) signals or
                chip-select signals of the output control signals in response to at least in part to (i)
                the at least one row address signal, (ii) the bank address signals, and (iii) the at
                least one chip-select signal of the set of input control signals and (iv) the PLL
                clock signal.” (“logic element limitation”).




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        Netlist asserted that these three amendments were “principal amendments to overcome

 the new grounds of rejection” and further stated that, “[t]o address the Board’s rejection, Patent

 Owner narrowed the claim to include” the above-identified three amendments. Id. Netlist then

 referenced the above identified “claim amendments [to] highlight at least two differences

 between the ’912 invention and the prior art.” Id. Below are the two differences that Netlist

 highlighted to the PTAB:

                        First, the claim amendments now require: In response to
                signals received from the computer system, the phaselock loop
                (PLL) device transmit a PLL clock to the plurality of DDR
                memory devices, the logic element, and the register. Amidi
                transmits a PLL clock signal to the register and memory, but not
                the CPLD. Thus, Amidi does not disclose the PLL device
                transmitting the PLL clock to the logic element; the output of PLL
                606 is neither directly nor indirectly transmitted to the CPLD 604.
                Additionally, a POSITA would not be motivated or inclined to
                transmit the PLL clock to CPLD 604.

                         Second, the amended claims now also require that the logic
                element generates certain output signals (e.g., gated column access
                strobe (CAS) signals or chip-select signals recited in claim 1) in
                response to at least in part to (i) the at least one row address signal,
                (ii) the bank address signals, and (iii) the at least one chip-select
                signal of the set of input control signals and (iv) the PLL clock
                signal. Amidi’s CPLD 604 never receives bank address signals
                and hence Amidi’s control signals cannot be generated based on
                bank address signals. Instead, the control signals (rcs0a, rcs0b,
                rcs1a, rcs1b, rcs2a, rcs2b, rcs3a, and rcs3b) are based on the row
                address signals and chip-select signals. Thus, Amidi does not
                disclose the CPLD generating the gated CAS signals or chip-select
                signals in response to the bank address signals. Moreover, since
                the output of PLL 606 is neither directly nor indirectly transmitted
                to the CPLD 604, a POSITA would understand that the PLL clock
                does not control the operation of CPLD 604. Thus, Amidi is
                further deficient by failing to disclose the CPLD generating the
                gated CAS signals or chip-selected signals in response to the PLL
                clock signal.

 Id. (emphasis in original) (internal citations omitted).




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        Netlist went on to further explain how the specific amendments above were the

 distinguishing factors over Amidi:

                        As amended, the claims require that the logic element
                receives at least one row address signal and bank address signals,
                and require that the register (i) receives, from the computer
                system, and (ii) buffers, in response to the PLL clock signal, a
                plurality of row/column address signals and the bank address
                signals, and (iii) transmit the buffered plurality of DDR memory
                devices. The claims also require the plurality of row/column
                address signals received by the register are separate from the at
                least one row address signal received by the logic element. In
                other words, in the confirmation recited by the claims, the bank
                address signals are received by the logic element, the register and
                the plurality of memory devices. Under such circumstances,
                Amidi does not use bank address signals to generate control signals
                (and certainly not the bank address signals and the at least one row
                address signal.) The claims, however, require generating CAS
                signals or chip-select signals based on a row address signal and
                bank address signals.

                         Based on the above, it would not be obvious to a POSITA
                to combine Amidi and Dell 2 to reach the claimed invention, as
                amended. For the sake of argument, however, even the proposed
                combination of Amidi and Dell 2 fails to disclose the claimed
                invention. Therefore, even in combination, Amidi in view of Dell
                2 fails to disclose all of the claim recitations of the claims.

 Id. (emphasis in original) (internal citations omitted).

        Following Google’s response to Netlist’s amendments and response, the PTAB remanded

 the case to the Examiner and the Examiner maintained the PTAB’s new grounds of rejection as

 well as one additional ground. See October 3, 2017 Examiner’s Determination under 37 C.F.R. §

 41.77(d).

        The PTAB then issued its second appeal decision, affirming several prior rejections but

 withdrawing many of the rejections the PTAB and the Examiner had previously maintained. See

 July 27, 2018 Decision on Appeal. The withdrawn rejections corresponded to the combinations

 of Micron in view of Amidi and Micron in view of Amidi and Olarig. Id. Google sought

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 rehearing, which the PTAB denied. See January 31, 2019 Decision on Rehearing. Google then

 appealed the PTAB’s decision to the Federal Circuit.

         In its responsive appeal brief to the Federal Circuit, Netlist repeatedly stated that “it

 narrowed its claims to define its precise inventive contributions over the prior art.” December

 12, 2019 Netlist Response Brief (emphasis added). Therefore, in statements to the PTAB and the

 Federal Circuit, Netlist reiterated that the amendments identified above are narrowing, and that it

 was these narrowing amendments that were Netlist’s basis for arguing that the prior art at issue

 does not disclose the asserted claims. It was in response to these statements that the PTAB

 withdrew its rejections of the asserted claims and the Federal Circuit affirmed the PTAB’s

 decision on June 15, 2020.

         The Inter Partes Reexamination Certification for the ’912 patent issued on February 8,

 2021.

                c. After the Claims Issued with the Narrowing Amendments, Netlist Argued in
                   Litigation That the Amendments Did Not Change the Scope of the Claims

         After the Inter Partes Reexamination Certification for the ’912 patent issued on February

 8, 2021, Netlist resumed its litigation against Google.

         On information and belief, Gail Sasaki is involved in overseeing Netlist’s litigation

 against Google.

         On July 30, 2021, Google filed a Motion for Summary Judgment on the Issue of Absolute

 Intervening Rights. See Netlist, Inc. v. Google LLC, No. 4:09-cv-05718-SBA, Dkt. No. 155.

         On September 3, 2021, Netlist filed its Opposition to Google’s Motion for Summary

 Judgement on the Issue of Absolute Intervening Rights. See id., Dkt. No. 196. In the opposition,

 Netlist argued, in direct contradiction to what it argued to the PTAB and the Federal Circuit

 during reexamination proceedings, that the above identified claim amendments were not

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 narrowing. Instead, Netlist argued that “the language added during reexamination clarified what

 was inherent in the original claims.” Dkt. No. 196 at 17; see also id. at 16–24. The N.D.Cal.

 Court denied Google’s Motion for Summary Judgement on the Issue of Absolute Intervening

 Rights. Dkt. No. 258.

        If the above identified amendments were in fact inherent, as Netlist contended to

 overcome intervening rights, then Netlist knowingly misled the PTAB and the Federal Circuit

 when it distinguished the amended claims from the prior art during reexamination.

        Had the PTAB and the Federal Circuit known that the amendments were in fact not

 “narrowing” but instead just “made express the inherent functions of the [original limitation],”

 the PTAB and the Federal Circuit would have found these claims obvious and not allowed them

 to issue. For example, if the newly added functions were inherent in the original claim

 limitation, as Netlist now contends, these functions also would have been inherent in the prior

 art, thus rendering the claims obvious and invalid.

        On information and belief, Netlist Individuals Substantively Involved in the ’912 Patent

 Reexamination knowingly misrepresented the amendments in its arguments to the PTAB and the

 Federal Circuit. Netlist Individuals Substantively Involved in the ’912 Patent Reexamination

 had a duty of candor and good faith in dealing with the PTAB and the Federal Circuit during

 reexamination of the ’912 patent. That duty of candor and good faith included a duty to disclose

 to the PTAB and the Federal Circuit its intention not to narrow the claims at all in order to

 distinguish the prior art. Instead, Netlist Individuals Substantively Involved in the ’912 Patent

 Reexamination chose to tell both the PTAB and the Federal Circuit the opposite to convince the

 PTAB and the Federal Circuit to allow the claims. This information is material to the

 patentability of the claims. By misrepresenting the intended effect of the above identified



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 amendments to the claims to the PTAB and the Federal Circuit, Netlist Individuals Substantively

 Involved in the ’912 Patent Reexamination breached its duty of candor and good faith and

 showed specific intent to deceive the PTAB and the Federal Circuit.

        2.      ’608 Patent

        Individuals substantively involved in the prosecution of the ’608 patent knew about

 material and non-cumulative prior art by virtue of their participation in JEDEC standards

 meetings. On information and belief, these individuals specifically intended to deceive the

 Patent Office into believing that the claims of the ’608 patent were patentable by withholding the

 relevant art from the examiner during prosecution of the patent.

                a. Background on the Alleged Invention, and the Prosecution of the ’608
                   Patent, and Events Occurring During the Same

        The ’608 patent issued from a series of continuation applications: U.S. Patent Application

 Nos. 15/426,064 (U.S. Patent No. 9,824,035); 14/846,993 (U.S. Patent No. 9,563,587); and

 13/952,599 (U.S. Patent No. 9,128,632). This chain of continuation applications ultimately

 claims priority to U.S. Provisional Patent Application No. 61/676,883, which was filed on July

 27, 2012. All of the applications name Hyun Lee and Jayesh R. Bhakta as the inventors.

        The ’608 patent incorporates by reference a number of Netlist’s other patent applications

 including U.S. Patent Application Nos. 14/715,486 (U.S. Patent No. 9,858,821); 13/970,606

 (U.S. Patent No. 9,606,907); 12/504,131 (U.S. Patent No. 8,417,870); 12/761,179 (U.S. Patent

 No. 8,516,185); 13/287,042 (U.S. Patent No. 8,756,364); and 13/287,081 (U.S. Patent No.

 8,516,188).

        Netlist filed a terminal disclaimer for the ’608 patent on May 24, 2018, over the ’035,

 ’587, and ’632 patents.




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                       i.     Hyun Lee’s and Jayesh Bhakta’s Alleged Conception and
                              Reduction to Practice, and Regular Attendance at JEDEC
                              Meetings

        Hyun Lee continued to regularly attend JEDEC meetings for at least the JC-40 committee

 and the JC-45 committee in 2011 and 2012, as well as before and after that timeframe. For

 instance, on information and belief, Hyun Lee attended at least the following JC-40 meetings:

 No. 168, Dec. 8, 2011; No. 169, Mar. 5, 2012; and No. 170, June 4, 2012. And, on information

 and belief, Hyun Lee attended at least the following JC-45 meetings: No. 33, Dec. 7-8, 2011; No.

 34, Mar. 5, 2012; and No. 35, June 4, 2012.

        By virtue of his attendance at those meetings, active involvement in JEDEC and

 otherwise, on information and belief, Hyun Lee was aware of the draft and final specifications

 for DDR4 LRDIMMs being considered and voted upon by those committees, including JESD82-

 32, dated November 2016, as well as prior drafts of it. For example, Intel presented and

 discussed Committee Item Number 158.01 (“DDR4 LRDIMM Proposal”) at the December 8,

 2011 meeting of JC-40, Committee Item Number 0311.14 (“Proposed DDR4 DB Training

 Modes”) at the March 25, 2012 meeting of JC-40, and Committee Item Number 0311.12

 (“Proposed DDR DB Buffer Control Words”) at the June 4, 2012 meeting of JC-40.

        On information and belief, the JESD82-32 standard was circulated at or before, and

 discussed at and voted on at or before, JC-40 and JC-45 committee meetings that Hyun Lee

 attended.

        On information and belief, draft Committee Item Number 158.01 was created by

 employees of Intel Corp. and circulated at or before, and discussed at, the JC-40 committee

 meeting on December 8, 2011 that Hyun Lee attended.




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         On information and belief, draft Committee Item Number 0311.14 was created by

 employees of Intel Corp. and circulated at or before, and discussed at, the JC-40 committee

 meeting on Mar. 5, 2012 that Hyun Lee attended.

         On information and belief, draft Committee Item Number 0311.12 was created by

 employees of Intel Corp. and circulated at or before, and discussed at, the JC-40 committee

 meeting on June 4, 2012 that Hyun Lee attended.

         By virtue of his attendance at those meetings, active involvement in JEDEC and

 otherwise, on information and belief, Hyun Lee was aware of the draft and final specifications

 for DDR4 LRDIMMs being considered and voted upon by those subcommittees.

         Draft specifications, ballots and presentations distributed to the members of the JC-40

 and/or JC-45 committees of JEDEC were distributed to many (20+) key members of the

 interested public with the expectation they would be freely disclosed to and discussed with

 others. As such, they are prior art under 35 U.S.C. § 102 at least as of those distribution dates.

         Distributed specifications, such as JESD82-32, are prior art under 35 U.S.C. § 102 at

 least as of their release dates.

         The provisional application to which the ’608 patent claims priority was filed on July 12,

 2012, naming Hyun Lee as the inventor. Jayesh R. Bhakta was named as a co-inventor after the

 provisional was filed.

         On information and belief, and based on Netlist’s apparent view of the scope of the

 alleged invention, each of the draft DDR4 LRDIMM drafts and presentations disclose materially

 the same structure and functionality that Netlist accuses of infringing the claims of ’608 patent.

         On information and belief, after attending the June 4, 2012 meeting and listening to these

 ideas from other members of JEDEC, Hyun Lee returned to Netlist and hurriedly completed



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 drafting the provisional application to which the ’608 patent claims priority, naming himself as

 the inventor, and had a provisional application filed on July 27, 2012. Netlist filed a request to

 correct inventorship on September 26, 2012, adding Jay R. Bhakta as a co-inventor.

                        ii.     ’608 Patent Prosecution and Corresponding Events

         Netlist filed the application, No. 15/820,076, that issued as the ’608 patent on April 23,

 2019.

         On January 25, 2018, the examiner issued a Non-Final Rejection rejecting then-pending

 claim 1 for obviousness-type double patenting.

         On May 24, 2018, Netlist filed an Amendment and Request for Reconsideration after

 Non-Final Rejection. Netlist’s response included a Terminal Disclaimer and amended claim 1.

 Netlist added claims 2–12.

         On July 3, 2018, the examiner issued a Notice of Allowance.

         On October 3, 2018, only after the examiner issued a Notice of Allowance, Netlist filed a

 Request for Continued Examination and included two Information Disclosure Statement (IDS)

 Forms containing 18 and 29 sheets. JEDEC DDR LRDIMM drafts and specifications were not

 included.

         On November 19, 2018, the examiner issued another Notice of Allowance.

         On February 19, 2019, Netlist filed an Amendment after Allowance paid the issue fee for

 the application that issued as the ’608 patent.

         On February 28, 2019, the examiner accepted the Amendment.

         On April 3, 2019, the examiner issued an issue date notification for the application that

 issued as the ’608 patent. That notification specified an issue date of April 23, 2019.




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        Netlist took no action to withdraw the application that issued as the ’608 patent from

 issuance, or to otherwise continue prosecution of that application, and the application issued as

 the ’608 patent on April 23, 2019.

                b. Netlist’s Failure to Disclose the Drafts and Presentations for DDR4
                   LRDIMMs from the Dec. 8, 2011, Mar. 5, 2012, and June 4, 2012 JEDEC
                   JC-40 Meetings Attended by Hyun Lee, and False Portrayal of Hyun Lee
                   and Jayesh R. Bhakta as Inventors.

        At least according to Netlist’s characterizations of the inventive aspects of the disclosure

 and claims of the ’608 patent, the draft specifications and related presentations for DDR4

 LRDIMMs that were presented at the Dec. 8, 2011, Mar. 5, 2012, and June 4, 2012 meetings

 disclose the key allegedly inventive aspects of the claims of the ’608 patent. These draft

 specifications and presentations include Committee Item Number 158.01 from the December

 2011 meeting (Ex. B), Committee Item Number 0311.14 from the March 2012 meeting (Ex. C),

 and Committee Item Number 0311.12 from the June 2012 meeting (Ex. D).

        Even though at least Hyun Lee was present at the JEDEC meeting at which those

 presentations were made, witnessed those presentations, and was present for the discussions that

 occurred about them, and immediately thereafter drafted the provisional application to which the

 ’608 patent claims priority, on information and belief, Hyun Lee did not disclose any of these

 drafts and the presentations to the examiner of the application that issued as the ’608 patent.

        Those drafts and presentations are prior art under 35 U.S.C. § 102 at least as of the

 meeting in which they were presented and discussed, and are not cumulative of other art or

 information before the examiner of the application that issued as the ’608 patent.

        Those drafts and presentations also illustrate that Hyun Lee falsely portrayed himself and

 Jayesh R. Bhakta as the inventors of the alleged inventions claimed in the ’608 patent. At a

 minimum, those drafts and presentations illustrate that Hyun Lee, based on Netlist’s

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 infringement allegations, derived at least portions of the allegedly inventive aspects of the

 claimed inventions from others in attendance at the JC-40 meetings, who made those

 presentations on behalf of Intel, among others.

        The Patent Office would not have allowed at least one claim of the ’608 patent to issue

 had it been aware of those drafts and presentations, at least because it would have found the

 claims obvious over those drafts and presentations (either in combination with the knowledge of

 one of ordinary skill, in combination with art disclosing the basic architecture and functionality

 of DDR4 LRDIMMs), that there are joint inventors that were not properly named on the

 applications that issued as the ’608 patent, and/or that the alleged inventions claimed therein had

 been derived in whole or in part from another.

        The drafts and presentations that Hyun Lee failed to disclose to the Patent Office were

 not cumulative of other art before the examiner. The examiner stated that he allowed the claims

 because the art of record did not teach or suggest:

                a memory module system with a plurality of buffers mounted in
                positions corresponding to the respective sets of data/strobe signal
                lines, each buffer providing data paths between the data/strobe
                signal lines and a set of memory devices and including logic that
                responds to control signals by enabling the data paths
                corresponding to memory operations between the data/strobe
                signal lines and the memory devices, wherein the logic is
                configured to obtain timing information based on signals received
                by the buffers during a second memory operation prior to the first
                memory operation and to control timing of the data and strobe
                signals on the data paths in accordance with the obtained timing
                information as claimed.

 November 19, 2018 Notice of Allowability at 3. Aside from the fact that the ’608 patent claims

 do not include what the examiner stated the prior art does not teach or suggest, the withheld

 drafts and presentations for DDR4 LRDIMM explained the structure and operation of DDR4

 LRDIMM devices, which Netlist argues practice the claims of the ’608 patent. For example,

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 Committee Item Number 158.01 shows the accused DDR4 LRDIMM’s structure. Moreover, the

 draft specifications, including Committee Item No. 311.14, explain DDR LRDIMM’s training

 modes including read delay training and timing delays for the buffers. Netlist argues that these

 training modes are used to determine the claimed timing information “to delay a signal through

 the data path by an amount determined by the command processing circuit.” Dkt. No. 100 ¶¶ 77-

 78.

        On information and belief, Hyun Lee specifically intended to deceive the Patent Office

 into believing that Hyun Lee and Jayesh R. Bhakta were the sole inventors of the ’608 patent,

 and/or that the claims of those patents are otherwise patentable, by withholding those drafts and

 presentations from the patent examiner during prosecution of the application that issued as the

 ’608 patent. On information and belief, Hyun Lee engaged in this conduct as part of a scheme to

 monetize Netlist’s patents through litigation against the industry.

                                                ****

        Inequitable Conduct: Any one or more acts set forth above are sufficient in and of

 itself/themselves to demonstrate that Netlist committed inequitable conduct during the

 reexamination of the ’912 patent that renders the ’912 patent unenforceable and that Netlist

 committed inequitable conduct during the prosecution of the ’608 patent that renders the ’608

 patent unenforceable.

        Unclean Hands: Furthermore, any one or more acts set forth above are sufficient in and of

 itself/themselves to demonstrate that Netlist has unclean hands in relation to its assertion of the

 ’912 patent that renders the ’912 patent unenforceable and that Netlist has unclean hands in

 relation to its assertion of the ’608 patent that renders the ’608 patent unenforceable.




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           In addition, all of the Patents-In-Suit are unenforceable due to unclean hands based on

 Netlist’s litigation misconduct. By way of example, Netlist’s misconduct arises from its repeated

 treatment of the Patents-In-Suit as essential to practicing JEDEC standards, including in its Third

 Amended Complaint and its infringement contentions, which exclusively rely on standardized

 features. Despite this, Netlist has refused to take a position on essentiality in discovery,

 prejudicing Samsung’s ability to develop its defenses and damages positions.

                             THIRTEENTH ADDITIONAL DEFENSE
                                    (Intervening Rights)

           Samsung incorporates by reference the facts set forth above concerning its Twelfth

 Additional Defense. Netlist’s claims are barred, in whole or in part, under principles of

 intervening rights. During reexamination of the ’912 patent, Netlist canceled original claims 2,

 5, 7, 9, 21, 23, 25, 26, 30, 33, 42, 44, and 51; amended claims 1, 15, 16, 28, 39, 43; and added

 new claims 52-91. Claims 3, 4, 6, 8, 10-14, 17-20, 22, 24, 27, 29, 31, 32, 34-38, 40, 41, and 45-

 50 were deemed patentable because of their dependence on amended claims. The Patent Office

 issued an Inter Partes Reexamination Certification for the ’912 patent on February 8, 2021. In

 light of these amendments and Netlist’s arguments during the reexamination proceedings, all

 remaining claims of the ’912 patent are amended or new and, as Netlist itself argued to the

 Federal Circuit, have substantively narrower scope from the originally issued claims of the ’912

 patent.

           In light of Netlist’s amendments, additions, and arguments, the making, using, selling,

 offering for sale, and/or importing of Samsung’s Accused Products are protected by absolute

 and/or equitable intervening rights. In particular, to the extent that Netlist’s allegations are based

 on Samsung’s Accused Products that were made, used, offered for sale, sold, and/or imported

 prior to the issuance of the reexamination certificate, absolute intervening rights bar any liability


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 for infringement with respect to such products. Further, to the extent Netlist’s accusations are

 based on Samsung’s Accused Products that were made, used, offered for sale, sole, and/or

 imported after the issuance of the reexamination certificate, the doctrine of equitable intervening

 rights applies, at least because Samsung made substantial preparation of those products prior to

 issuance of the certificate (including, for example, research and development activities and

 manufacturing activities pursuant to existing orders and contracts). Accordingly, Netlist’s

 infringement allegations are barred in whole or in part by absolute and/or equitable intervening

 rights under 35 U.S.C. §§ 252 and 307(b).

                            FOURTEENTH ADDITIONAL DEFENSE
                               (Res Judicata/Claim Preclusion)

        Netlist is barred by res judicata and/or claim splitting from asserting the ’608 patent

 against Samsung. In Netlist, Inc. v. Samsung Elecs. Co., Ltd., No. 2:21-CV-00463-JRG (E.D.

 Tex.) (“Netlist I”), Netlist asserted the ’506 patent against Samsung. The ’506 patent is the child

 patent of the ’608 patent and its claims are essentially the same as the ’608 patent’s. Indeed,

 during prosecution, the Examiner rejected the ’506 patent claims on the grounds of double

 patenting compared to the claims of the ’608 patent. See January 10, 2020 Non-Final Rejection

 (’506 Patent Prosecution History) at 3-5. Only after a terminal disclaimer was filed did the

 Examiner allow the claims of the ’506 patent. Netlist asserted the ’506 patent against Samsung

 up to and through the pre-trial order of March 20, 2023 in Netlist I. See Netlist I, Dkt. 398 at 11.

 On April 4, 2023, on the eve of trial, Netlist decided not to present the ’506 patent and its claims

 at trial. See Netlist I, Dkt. 431 at 1. Therefore, Netlist failed to prove to the jury and court that

 Samsung infringed the ’506 patent in Netlist I. Netlist did not request that its ’506 patent claims

 be dismissed without prejudice or that they be severed and stayed prior to trial. Consequently, at

 least the final judgment in Netlist I denied Netlist’s infringement claim of the ’506 patent against


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 Samsung. See Netlist I, Dkt. 551 (“All other requests for relief now pending and requested by

 either party but not specifically addressed herein are DENIED.”). Given the similarity in the two

 patents’ claims, Netlist is precluded from asserting the ’608 patent against Samsung.

                        RESERVATION OF ADDITIONAL DEFENSES

        Samsung reserves the right to assert additional defenses that may surface through

 discovery in this action.



 Date: September 11, 2023                         Respectfully submitted,

                                                  s/ Francis J. Albert

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                                 CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing document was filed

 electronically in compliance with Local Rule CV-5 on September 11, 2023. As of this date, all

 counsel of record have consented to electronic service and are being served with a copy of this

 document through the Court’s CM/ECF system under Local Rule CV-5(a)(3)(A).


                                                     /s/ Francis J. Albert




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